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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

DONNA CAVE, et al                                                   PLAINTIFF

V.                               Case No. 4:18-cv-00342-KGB

MARK MARTIN, Arkansas Secretary of State
in his Official Capacity                                            DEFENDANT

            ORSI ​PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                   MOTION FOR EXTENSION OF TIME

      Come the ​Orsi ​Plaintiffs through their local counsel, J.G. “Gerry” Schulze,

and for their response to Defendant’s Motion for Extension of Time state:

      1.     The ​Orsi​ Plaintiffs’ local counsel, Gerry Schulze, is currently in trial

in Bentonville, Arkansas. The case has gone on for a week and our ambition is to

see it go to the jury sometime Monday, December 16, 2019, however this case has

taken longer than expected at every turn. Even if the case goes to the jury on

Monday, it may well put off Plaintiff’s counsel’s return to Little Rock until

Tuesday.



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      2.     The Defendants asked the ​Orsi​ Plaintiffs if we would have any

objection to an extension by an electronic mail sent on Wednesday, December 11,

2019. Plaintiff’s counsel responded that he was in trial. Defendants asked if the

Orsi ​Plaintiffs would agree to an extension by Friday. Plaintiff’s counsel made it

clear that he could not consent by Friday because he was in trial and he needed to

consult with people before deciding whether to consent. Exhibit 1.

      3.     Defendant’s expert report and Plaintiff’s expert report were both filed

on the days provided by the scheduling Order.

      4.     Plaintiff’s expert witness should be no surprise to anyone, given that a

book authored by Plaintiff’s expert witness was cited as authority in response to an

interrogatory on this very subject. Plaintiff’s counsel can retrieve that

Interrogatory response when he is back in his office.

      5.     Defendant’s request that all responses be filed within five days is an

obvious attempt to exploit the fact that the undersigned is in trial and would likely

not be able to confer with clients and co-counsel and respond within the designated

five days.

      6.     Defendant has had ample time to discover anything relevant to this

case from the intervenors pursuant to the tentative scheduling orders and the final

scheduling order.



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      7.     Expert witnesses can be deposed by telephone or videoconferencing.

      8.     Because of the circumstances described above, the undersigned is

filing this partial response on the weekend.

      WHEREFORE, Defendant’s request for an expedited ruling should be

denied. Plaintiff’s counsel will endeavor to discuss the matter with the necessary

persons ​after ​returning to Little Rock from trial and will respond to Defendants’

motion at that time.

                                       Respectfully Submitted


                                       MONICA L. MILLER
                                       Attorney for Plaintiffs
                                       American Humanist Association
                                       1777 T Street N.W.
                                       Washington, D.C. 20009
                                       Telephone: (202) 238-9088
                                       Facsimile: (202) 238-9003
                                       Email: mmiller@americanhumanist.org
                                       CA Bar: 288343 / DC Bar: 101625

                                       PATRICK C. ELLIOTT
                                       Senior Counsel
                                       Freedom From Religion Foundation
                                       PO Box 750
                                       Madison, WI 53701
                                       (608) 230-8443
                                       WI Bar No. 1074300




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                           Baker Schulze Murphy and Patterson
                           2311 Biscayne Drive
                           Suite 300
                           Little Rock, AR 72227
                           Telephone: (501) 537-1000
                           Facsimile: (501) 537-1001
                           www.bsmp.law

                           /s/ Gerry Schulze​_______
                           J.G. “Gerry” Schulze
                           Attorney at Law
                           Ark. Bar No. 83156
                           gschulze@bsmp.law




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